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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
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UNTED STATES OF AMERICA,


                 -against-
                                                                        21-CR-452 (JS)(SIL)
WILLIAM JUNIOR MAXWELL, also known
as "Fetty Wap," also known as Willie Junior
Maxwell,
                                    Defenda nt.
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STEVEN I. LOCKE, United States Magistrate Judge:

       Upon the Government's motion for the revocation of bail pursuant to 18 U.S.C.
§ 3148 (b)(l), and after hearing oral argument from both sides, the motion for
revocation of bail is granted. While Defendant offers sympathetic re asons for his
conduct, the fact remains that the Government submits a video clearly depicting
Defenda nt brandishing a gun and threatening to kill someone on the other end of
video conference call. This evidence establishes: (i) probable cause to believe that a
crime has been committed, a nd (ii) clear and convincing evidence that Defenda nt has
violated the terms of his bond, and is a danger to the community such that there no
condition or combination of conditions that will alleviate that danger.

Dated:           Central Islip, New York
                 August 8, 2022                              SO ORDERED.


                                                             Steven I. Locke
                                                             United Sta tes Magistrate Judge
